Case 9:16-cv-00554-DNH-DJS Document 168 Filed 09/22/21 Page1of13

 

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

PRO BONO FUND VOUCIIER
AND REQUEST FOR REIMBURSEMENT

. ar !
I, f | Ut OW Kosing SG , duly appointed as counsel pro bono to

represent R On| CQ IS \ OQ Q S in the matter of

Diggs vv wood e+ ol

cat actron wo: “ 00ss4
Civil Action No. V lly -CV- . hereby request reimbursement pursuant to Local Rule 83.3 >5

. 151,
for expenses incurred in the representation of my pro bono client in the amount of s LOL BS

I certify that the expenses, a detailed copy of which are attached hereto, are reasonable
and necessary. | further understand that absent prior approval of the court, cumulative expenses

in this matter will not exceed $2,000.00.

pat Ft] 12 [2-1 |
pclistiing

The above application of counsel pro bono is fair and reasonable and payment is
requested from the Norther District of New York's Pro Bono Fund.

Dated: O20 aN ‘ PALL
Presiding Judge (Signature): LA *y C

IT IS SO ORDERED.
Dated: ae at

Ae bef”
Ghief U.S. District Judge =

Counsel Pro Bono (Signature):

 

 

    

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Case 9:16-cv-00554-DNH-DJS Document 168 Filed 09/22/21 Page 2 of13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

Pro Bono Authorization Request

Altorncy(s) Name: c | Uli O. Kos WS IC:

Case Number/Party

Represented: Oo * lle - C V-O OSS U / Diag S

bg Authorization Request for expenses in excess of $500.00

Explanation:

 

 

 

O Authorization Request for voucher in excess of $2,000.00

Explanation:

 

 

 

% Travel Authorization Request

Provide justification for travel and a list of estimated travel expenses:

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a

| baeKx 2 Une Note) ten & RAAUMINE +AnWo
StOrhno (38 Ono WIN) Gide ued

7) Ite Wo WO Shi im Pine Wnty fr
IN2 GON 2/24
The above Authorization Request for travel expenses, expenses in excess of $500.00 or voucher in
excess of $2,000.00 is hereby APPROVED.

Presiding Judge (Signature):

 

Dated:

 

*Please email Authorization Request to the “Courtroom Deputy” of presiding Judge
*A copy of the approved authorization must be attached to your pro bono voucher.

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Case 9:16-cv-00554-DNH-DJS Document 168 Filed 09/22/21 Page 3 of 13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Pro Bono Expense Voucher

Attorney(s) Name: | ul (OL K OS InLS KA
Law Firm Name: p \Ab\ rt C defen dev

Mailing Address of Law

Firm: S14. ST OAD St. Sehenoceddy, NY

City/State/Zip: \ 2. BOS

 

Thereby request payment be made for Pro Bono services performed in:
Case Number: q “I le - 0V—- OO oSy
Party Represented: XR © NOBA DN AS

Dates of Service: From: 04 | 2D 20 To: _ OFS |F024

Rates Effective October 2020 through September 2021 GRAND TOTAL
See mileage rates fur Nonhem District of New York

 

 

 

 

 

 

 

 

 

VOUCHER AMOUNT
GSA PER DIEMRATES: Ledging Meals
(Recommended) $ diag 715) . 3
Syracuse $ 101 $6}
Alban: 114 6) . .
Alber Y ioe aes Finance Audit__QAC, Date: Fis faoa
Bngamice $08 3
Plattsburgh
*Qals actual expenses may be claimed

 

 

 

I certify that I rendered the services described herein, that said services are fair and reasonable and payment is requested from
the Norther District of New York‘s Pro Bono Fund. f further understand that absent prior approval of the Court, cumulative
expenses in this matter will not cxceed $2,000.00.

Attorney Signature: Ye forvin (,' Date: slat .

 

 

“Must provide receipts if your expenses include airfare, lodging, rental ear and expenses $50.00 and over.
*Please submnlt your voucher via ECF using “Motion far Disbursement of Funds” event.

*tfyou have an etpense over $$00.00, travel expenses or your voucher cxeceds $2,000.00, please ll out the attached Authorization
Request Form.

 

 

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DOUBLETREE HOTEL UTICA
#8) 102 Lafayette St.
Utica, NY 13502
DOUBLETREE United States of America
TELEPHONE 315-724-7829 + FAX 315-733-7663
Reservations
www. hilton.com or 1 800 HILTONS
KOSINESKI, JULIA Room No: 612/NOR
Arrival Date: 6/27/2021 12:00:00 AM
1505 DORWALOT BOULEBARD Departure Date: 6/30/2021 12:18:00 PM
AduluChitd: 110
WASHINGTON DC 20036 Cashier ID: LEAR
UNITED STATES OF AMERICA Room Rate: 148.77
AL:
HH # 1233437555 SILVER
VAT #
Folio No/Che 103775 A
Confirmation Number: 86114621
DOUBLETREE HOTEL UTICA 9/14/2021 4:01:00 PM
|DATE {REF NO |DESCRIPTION { CHARGES |
6/27/2021 312033 GUEST ROOM $135.95
6/27/2021 312033 TAXES $18.70
6/28/2021 312218 GUEST ROOM $135.95
6/28/2021 312218 TAXES $18.70
6/29/2021 312420 GUEST ROOM $148.77
6/29/2021 312420 TAXES $20.46
6/30/2021 312546 VS °3200 ($478.53)
**BALANCE** $0.00
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6/27/2021 6/28/2021 6/29/2021 STAY TOTAL
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DAILY TOTAL $154.65 $154.65 $169.23 $478.53
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APPR CODE 075930 MERCHANT ID 61554068
CARD NUMBER VS °3200 EXP DATE 01/23
TRANSACTION ID 312546 TRANS TYPE Sale

Page:1
Case 9:16-cv-00554-DNH-DJS Document 168 Filed 09/22/21 Page 6 of 13

#)

 

DOUBLETREE HOTEL UTICA
102 Lafayette St.
Utica, NY 13502

 

 

 

 

 

 

DOUBLETREE United States of America
TELEPHONE 315-724-7829 + FAX 315-733-7663
Reservations
www. hilton.com or 1 800 HILTONS

Kosineski, Julia Room No: iNQR

Arrival Date: 6/29/2021
1505 DORWALDT BOULEBARD Departure Date: 6/30/2021

Adultf(Child: 2/0
WASHINGTON DC 20036 Cashler ID: LEAR
UNITED STATES OF AMERICA . Room Rate: 195.02

AL:

HH # 1233437555 SILVER

VAT #

Follo No/Che 104462 A
Confirmation Number. 92952075
DOUBLETREE HOTEL UTICA 9/14/2021 4:01:00 PM
DATE {REF NO |DESCRIPTION | CHARGES i
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06/29/2021
6/30/2021 312485 TAXES $26.81
6/30/2021 312486 VS °3200 ($221.83)
“BALANCE™ $0.00
EXPENSE REPORT SUMMARY
6/29/2021 STAY TOTAL

ROOM AND TAX $221.83 $221.83
DAILY TOTAL $221.83 $221.83
CREDIT CARD DETAIL
APPR CODE 08972D MERCHANT ID 6155406
CARD NUMBER VS °3200 EXP DATE 01/23
TRANSACTION ID 312486 TRANS TYPE Sale

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Case 9:16-cv-00554-DNH-DJS Document 168 Filed 09/22/21 Page 7 of 13

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Detailed Transaction Report by Date
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